              18-22886-rdd            Doc 1       Filed 06/07/18            Entered 06/07/18 17:25:55                   Main Document
                                                                           Pg 1 of 56
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                184 East 64th Street Holding LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Aspen Management Group LLC
                                  3140 East Tremont Ave
                                  2nd Floor
                                  Bronx, NY 10461
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  White Plains                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              18-22886-rdd              Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55 Main Document
Debtor
                                                                              Pg 2 of 56    Case number (if known)
          184 East 64th Street Holding LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Michael P. D'Alessio                                       Relationship              Manager
                                                             Southern District of
                                                  District   New York                      When       4/17/18           Case number, if known     18-22552




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             18-22886-rdd           Doc 1            Filed 06/07/18         Entered 06/07/18 17:25:55 Main Document
Debtor
                                                                           Pg 3 of 56    Case number (if known)
         184 East 64th Street Holding LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             18-22886-rdd            Doc 1        Filed 06/07/18           Entered 06/07/18 17:25:55 Main Document
Debtor
                                                                          Pg 4 of 56    Case number (if known)
          184 East 64th Street Holding LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 7, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael P. D'Alessio                                                Michael P. D'Alessio
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Sanford P. Rosen                                                     Date June 7, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Sanford P. Rosen (SR-4966)
                                 Printed name

                                 Rosen & Associates, P.C.
                                 Firm name

                                 747 Third Avenue
                                 Floor 20
                                 New York, NY 10017-2803
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 223-1100                Email address      srosen@rosenpc.com

                                 (SR-4966) NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
           18-22886-rdd                  Doc 1          Filed 06/07/18              Entered 06/07/18 17:25:55                Main Document
                                                                                   Pg 5 of 56




 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 7, 2018                            X /s/ Michael P. D'Alessio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael P. D'Alessio
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            18-22886-rdd                         Doc 1               Filed 06/07/18                      Entered 06/07/18 17:25:55                                             Main Document
                                                                                                        Pg 6 of 56
 Fill in this information to identify the case:

 Debtor name            184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        9,300,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,300,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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           18-22886-rdd                  Doc 1          Filed 06/07/18        Entered 06/07/18 17:25:55                  Main Document
                                                                             Pg 7 of 56
 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     The Westchester Bank                                    Checking                        5156                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            18-22886-rdd                 Doc 1          Filed 06/07/18        Entered 06/07/18 17:25:55               Main Document
                                                                             Pg 8 of 56
 Debtor         184 East 64th Street Holding LLC                                             Case number (If known)
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership
                     Investment in 184 East 64th Street
            15.1.    Associates LLC                                                 100       %      N/A                                       $0.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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            18-22886-rdd                 Doc 1          Filed 06/07/18        Entered 06/07/18 17:25:55               Main Document
                                                                             Pg 9 of 56
 Debtor         184 East 64th Street Holding LLC                                             Case number (If known)
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
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            18-22886-rdd                    Doc 1            Filed 06/07/18                Entered 06/07/18 17:25:55                            Main Document
                                                                                          Pg 10 of 56
 Debtor          184 East 64th Street Holding LLC                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55                   Main Document
                                                                         Pg 11 of 56
 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 12 of 56
 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $93,000.00
           1516 Realty Group LLC                                                Contingent
           97-77 Queens Blvd, TWR 3                                             Unliquidated
           Rego Park, NY 11374
                                                                                Disputed
           Date(s) debt was incurred 5/9/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $186,000.00
           Adam Cohen                                                           Contingent
           48 Everett Road                                                      Unliquidated
           Demarest, NJ 07627
                                                                                Disputed
           Date(s) debt was incurred     4/30/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $93,000.00
           Adam Fields                                                          Contingent
           9769 Apricot Lane                                                    Unliquidated
           Beverly Hills, CA 90210
                                                                                Disputed
           Date(s) debt was incurred 5/2/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $93,000.00
           Alyse Lefton                                                         Contingent
           181 East 73rd Street                                                 Unliquidated
           New York, NY 10021
                                                                                Disputed
           Date(s) debt was incurred     4/30/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 13 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Anita Gupta                                                           Contingent
          2123 Williamsbridge Road                                              Unliquidated
          Bronx, NY 10461
                                                                                Disputed
          Date(s) debt was incurred 5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Anthony Bonomo Jr.                                                    Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 5/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          Anthony Bonomo Sr.                                                    Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 5/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Arlene Blatt                                                          Contingent
          25 Sutton Place South                                                 Unliquidated
          Apt 3N
                                                                                Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/30/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Arnold Waldman                                                        Contingent
          581 Leheigh Lane                                                      Unliquidated
          Woodmere, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 5/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Barbara Fiederlein Trust,                                             Contingent
          David Fiederlein, Trustee                                             Unliquidated
          56 Majestic Ridge
                                                                                Disputed
          Carmel, NY 10512
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/5/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Beverly Hazelkorn                                                     Contingent
          92 Radcliff Ave                                                       Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 14 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          BMG Consulting Group LLC                                              Contingent
          Attn: Bianca D'Alessio                                                Unliquidated
          340 East 51st St #3A
                                                                                Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/20/16
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Bruce Azus                                                            Contingent
          9 Bensin Drive                                                        Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred      4/28/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Carol Merkel                                                          Contingent
          323 Polaris Street                                                    Unliquidated
          Dauphin Island, AL 36528
                                                                                Disputed
          Date(s) debt was incurred 4/29/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Chantal Pick                                                          Contingent
          866 Evergreen Drive                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Daniel Rifkin                                                         Contingent
          P.O. Box 9338                                                         Unliquidated
          Bardonia, NY 10954
                                                                                Disputed
          Date(s) debt was incurred      5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          David & Rita Levy                                                     Contingent
          25 Wren Drive                                                         Unliquidated
          Roslyn, NY 11576
                                                                                Disputed
          Date(s) debt was incurred      5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          David Tesser                                                          Contingent
          1800 Merrick Road                                                     Unliquidated
          Merrick, NY 11566
                                                                                Disputed
          Date(s) debt was incurred      5/26/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 15 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          Diamond Enterprises LLC                                               Contingent
          3677 East Tremont Ave                                                 Unliquidated
          Bronx, NY 10465
                                                                                Disputed
          Date(s) debt was incurred 4/23/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,860,000.00
          East 64th Street Realty Partne                                        Contingent
          rs Attn: Cornell Pace Inc                                             Unliquidated
          542 Main St, 2nd Floor
                                                                                Disputed
          New Rochelle, NY 10801
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Fiederlein Family 2012 Gift Tr                                        Contingent
          ust, B. Fiederlein Trustee                                            Unliquidated
          56 Majestic Ridge
                                                                                Disputed
          Carmel, NY 10512
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/5/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Fiederlein Family LLC                                                 Contingent
          Attn: David Fiederlein                                                Unliquidated
          56 Majestic
                                                                                Disputed
          Carmel, NY 10512
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/5/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Frima Edelstein                                                       Contingent
          2 Larch Lane                                                          Unliquidated
          Marlboro, NJ 07746
                                                                                Disputed
          Date(s) debt was incurred      5/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Gamor Company LLC                                                     Contingent
          Attn: Jamie Heiberger                                                 Unliquidated
          589 Eight Ave, 10th FL
                                                                                Disputed
          New York, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Gerald Levy                                                           Contingent
          c/o Neil Levy                                                         Unliquidated
          36 Woodmont Rd
                                                                                Disputed
          Melville, NY 11747
                                                                             Basis for the claim:
          Date(s) debt was incurred      5/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 16 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Gregory Calabro                                                       Contingent
          22 Essex Road                                                         Unliquidated
          Maplewood, NJ 07040
                                                                                Disputed
          Date(s) debt was incurred 5/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Jaclyn Bonomo                                                         Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 5/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Jason Griffith                                                        Contingent
          66 Hillside Crescent                                                  Unliquidated
          New Rochelle, NY 10804
                                                                                Disputed
          Date(s) debt was incurred 4/25/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          John Cannon                                                           Contingent
          15 Farmington Lane                                                    Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred      4/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          John Ernenwein                                                        Contingent
          51 Osborne Road                                                       Unliquidated
          Garden City, NY 11530
                                                                                Disputed
          Date(s) debt was incurred 5/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Joseph Dinoia                                                         Contingent
          15833 Double Eagle Trail                                              Unliquidated
          Delray Beach, FL 33446
                                                                                Disputed
          Date(s) debt was incurred 5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Julianne Bonomo                                                       Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 5/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 17 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Lawrence Dolin                                                        Contingent
          11 Sands Court                                                        Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 5/9/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          Lisa West                                                             Contingent
          33 Gateway Drive                                                      Unliquidated
          Great Neck, NY 11021
                                                                                Disputed
          Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Marilyn Yukelson                                                      Contingent
          12 Angler Lane                                                        Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 5/2/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          Mark Engel                                                            Contingent
          1 Forest Drive                                                        Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Matthew Engel                                                         Contingent
          19 Soundview                                                          Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 5/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          Mautner-Glick Corp Profit Shar                                        Contingent
          ing Plan c/o David Parks                                              Unliquidated
          1345 Third Ave
                                                                                Disputed
          New York, NY 10021
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/6/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Michael Kesselman                                                     Contingent
          317 Chestnut Street                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 18 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,000.00
          Michael P. D'Alessio                                                  Contingent
          12 Water Street                                                       Unliquidated
          Suite 204
                                                                                Disputed
          White Plains, NY 10601
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/1/16
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Michael Rothschild                                                    Contingent
          c/o AJ Clarke Real Estate                                             Unliquidated
          1881 Broadway
                                                                                Disputed
          New York, NY 10023
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Nathan & Pearl Halegua                                                Contingent
          c/o Jonis Realty                                                      Unliquidated
          6 Grace Ave, 4th Fl
                                                                                Disputed
          Great Neck, NY 11021
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/4/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Pensco Trust Company                                                  Contingent
          FBO Howard Rosen                                                      Unliquidated
          P.O. Box 173859
                                                                                Disputed
          Denver, CO 80217
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Philip Fiederlein                                                     Contingent
          4 North Lane                                                          Unliquidated
          Mahopac, NY 10541
                                                                                Disputed
          Date(s) debt was incurred      5/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          Ram Gupta                                                             Contingent
          2123 Williamsbridge Road                                              Unliquidated
          Bronx, NY 10461
                                                                                Disputed
          Date(s) debt was incurred 5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          Robert Rosenthal                                                      Contingent
          1 Jericho Plaza                                                       Unliquidated
          Suite 201
                                                                                Disputed
          Jericho, NY 11753
                                                                             Basis for the claim:
          Date(s) debt was incurred      5/4/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 19 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Roger Schneier                                                        Contingent
          8167 Valhalla Drive                                                   Unliquidated
          Delray Beach, FL 33446
                                                                                Disputed
          Date(s) debt was incurred 5/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          Ronald Garfunkel                                                      Contingent
          127 Church Hill Road                                                  Unliquidated
          Washington Depot, CT 06794
                                                                                Disputed
          Date(s) debt was incurred 5/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Ross Epstein                                                          Contingent
          925 Monroe Lane                                                       Unliquidated
          Hewlett Neck, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 5/12/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          S.T.V. Realty LLC                                                     Contingent
          Attn: Jeff Farkas                                                     Unliquidated
          P.O. Box 750443
                                                                                Disputed
          Forest Hills, NY 11375
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/12/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Saulyco LLC                                                           Contingent
          Attn: Issac Stern                                                     Unliquidated
          220 Surrey Road
                                                                                Disputed
          Hillside, NJ 07205
                                                                             Basis for the claim:
          Date(s) debt was incurred      4/29/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Scott & Ella Chick                                                    Contingent
          206 Adams Street                                                      Unliquidated
          Unit B
                                                                                Disputed
          Hoboken, NJ 07030
                                                                             Basis for the claim:
          Date(s) debt was incurred      4/28/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,000.00
          Scott Silberman                                                       Contingent
          25 Ely Road                                                           Unliquidated
          Holmdel, NJ 07733
                                                                                Disputed
          Date(s) debt was incurred      5/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 10
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                               Main Document
                                                                               Pg 20 of 56
 Debtor       184 East 64th Street Holding LLC                                                        Case number (if known)
              Name

 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $465,000.00
           Sierra Real Estate LLC                                               Contingent
           Attn: James Wacht                                                    Unliquidated
           600 Madison Ave
                                                                                Disputed
           New York, NY 10022
                                                                             Basis for the claim:
           Date(s) debt was incurred 5/4/15
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes

 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $93,000.00
           Steven Engel                                                         Contingent
           3817 Woodley Road NW                                                 Unliquidated
           Washington, DC 20016
                                                                                Disputed
           Date(s) debt was incurred 5/9/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $93,000.00
           Tina Jebaily - Post                                                  Contingent
           152 Beach 139 Street                                                 Unliquidated
           Belle Harbor, NY 11694
                                                                                Disputed
           Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $93,000.00
           Vivian Cardia                                                        Contingent
           10402 Stonebridge Blvd                                               Unliquidated
           Boca Raton, FL 33498
                                                                                Disputed
           Date(s) debt was incurred 5/7/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $186,000.00
           William Jebaily                                                      Contingent
           81 Iron Mine Drive                                                   Unliquidated
           Staten Island, NY 10304
                                                                                Disputed
           Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Howard Rosen
           4 Horizon Road # 1006                                                                      Line     3.43
           Fort Lee, NJ 07024
                                                                                                             Not listed. Explain

 4.2       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                        Line     3.7
           Suite 332
                                                                                                             Not listed. Explain
           Melville, NY 11747




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 10
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                         Main Document
                                                                               Pg 21 of 56
 Debtor       184 East 64th Street Holding LLC                                                    Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                   Line     3.6
           Suite 332
                                                                                                        Not listed. Explain
           Melville, NY 11747

 4.4       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                   Line     3.27
           Suite 332
                                                                                                        Not listed. Explain
           Melville, NY 11747

 4.5       Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.20
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.6       Schwartz Sladkus Reich Greenbe
           rg & Atlas LLP                                                                        Line     3.38
           270 Madison Ave, 9th Fl
                                                                                                        Not listed. Explain
           New York, NY 10016


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  9,300,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    9,300,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55                     Main Document
                                                                         Pg 22 of 56
 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55                 Main Document
                                                                         Pg 23 of 56
 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Michael P.                        265 East 66th Street                              1516 Realty Group                  D
             D'Alessio                         Apt 28F                                           LLC                                E/F       3.1
                                               New York, NY 10065
                                                                                                                                    G




    2.2      Michael P.                        265 East 66th Street                              Adam Cohen                         D
             D'Alessio                         Apt 28F                                                                              E/F       3.2
                                               New York, NY 10065
                                                                                                                                    G




    2.3      Michael P.                        265 East 66th Street                              Adam Fields                        D
             D'Alessio                         Apt 28F                                                                              E/F       3.3
                                               New York, NY 10065
                                                                                                                                    G




    2.4      Michael P.                        265 East 66th Street                              Alyse Lefton                       D
             D'Alessio                         Apt 28F                                                                              E/F       3.4
                                               New York, NY 10065
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 24 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Michael P.                        265 East 66th Street                           Anita Gupta                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.5
                                               New York, NY 10065
                                                                                                                            G




    2.6      Michael P.                        265 East 66th Street                           Anthony Bonomo Sr.            D
             D'Alessio                         Apt 28F                                                                      E/F       3.7
                                               New York, NY 10065
                                                                                                                            G




    2.7      Michael P.                        265 East 66th Street                           Anthony Bonomo Jr.            D
             D'Alessio                         Apt 28F                                                                      E/F       3.6
                                               New York, NY 10065
                                                                                                                            G




    2.8      Michael P.                        265 East 66th Street                           Arlene Blatt                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.8
                                               New York, NY 10065
                                                                                                                            G




    2.9      Michael P.                        265 East 66th Street                           Arnold Waldman                D
             D'Alessio                         Apt 28F                                                                      E/F       3.9
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                           Barbara Fiederlein            D
             D'Alessio                         Apt 28F                                        Trust,                        E/F       3.10
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                           Beverly Hazelkorn             D
             D'Alessio                         Apt 28F                                                                      E/F       3.11
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 2 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 25 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     Michael P.                        265 East 66th Street                           BMG Consulting                D
             D'Alessio                         Apt 28F                                        Group LLC                     E/F       3.12
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                           Bruce Azus                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.13
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                           Carol Merkel                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.14
                                               New York, NY 10065
                                                                                                                            G




    2.15     Michael P.                        265 East 66th Street                           Chantal Pick                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.15
                                               New York, NY 10065
                                                                                                                            G




    2.16     Michael P.                        265 East 66th Street                           Daniel Rifkin                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.16
                                               New York, NY 10065
                                                                                                                            G




    2.17     Michael P.                        265 East 66th Street                           David & Rita Levy             D
             D'Alessio                         Apt 28F                                                                      E/F       3.17
                                               New York, NY 10065
                                                                                                                            G




    2.18     Michael P.                        265 East 66th Street                           David Tesser                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.18
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 3 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 26 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.19     Michael P.                        265 East 66th Street                           Diamond Enterprises           D
             D'Alessio                         Apt 28F                                        LLC                           E/F       3.19
                                               New York, NY 10065
                                                                                                                            G




    2.20     Michael P.                        265 East 66th Street                           East 64th Street              D
             D'Alessio                         Apt 28F                                        Realty Partne                 E/F       3.20
                                               New York, NY 10065
                                                                                                                            G




    2.21     Michael P.                        265 East 66th Street                           Fiederlein Family             D
             D'Alessio                         Apt 28F                                        2012 Gift Tr                  E/F       3.21
                                               New York, NY 10065
                                                                                                                            G




    2.22     Michael P.                        265 East 66th Street                           Fiederlein Family             D
             D'Alessio                         Apt 28F                                        LLC                           E/F       3.22
                                               New York, NY 10065
                                                                                                                            G




    2.23     Michael P.                        265 East 66th Street                           Frima Edelstein               D
             D'Alessio                         Apt 28F                                                                      E/F       3.23
                                               New York, NY 10065
                                                                                                                            G




    2.24     Michael P.                        265 East 66th Street                           Gamor Company LLC             D
             D'Alessio                         Apt 28F                                                                      E/F       3.24
                                               New York, NY 10065
                                                                                                                            G




    2.25     Michael P.                        265 East 66th Street                           Gerald Levy                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.25
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 4 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 27 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.26     Michael P.                        265 East 66th Street                           Gregory Calabro               D
             D'Alessio                         Apt 28F                                                                      E/F       3.26
                                               New York, NY 10065
                                                                                                                            G




    2.27     Michael P.                        265 East 66th Street                           Jaclyn Bonomo                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.27
                                               New York, NY 10065
                                                                                                                            G




    2.28     Michael P.                        265 East 66th Street                           Jason Griffith                D
             D'Alessio                         Apt 28F                                                                      E/F       3.28
                                               New York, NY 10065
                                                                                                                            G




    2.29     Michael P.                        265 East 66th Street                           John Cannon                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.29
                                               New York, NY 10065
                                                                                                                            G




    2.30     Michael P.                        265 East 66th Street                           John Ernenwein                D
             D'Alessio                         Apt 28F                                                                      E/F       3.30
                                               New York, NY 10065
                                                                                                                            G




    2.31     Michael P.                        265 East 66th Street                           Joseph Dinoia                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.31
                                               New York, NY 10065
                                                                                                                            G




    2.32     Michael P.                        265 East 66th Street                           Julianne Bonomo               D
             D'Alessio                         Apt 28F                                                                      E/F       3.32
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 5 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 28 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.33     Michael P.                        265 East 66th Street                           Lawrence Dolin                D
             D'Alessio                         Apt 28F                                                                      E/F       3.33
                                               New York, NY 10065
                                                                                                                            G




    2.34     Michael P.                        265 East 66th Street                           Lisa West                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.34
                                               New York, NY 10065
                                                                                                                            G




    2.35     Michael P.                        265 East 66th Street                           Marilyn Yukelson              D
             D'Alessio                         Apt 28F                                                                      E/F       3.35
                                               New York, NY 10065
                                                                                                                            G




    2.36     Michael P.                        265 East 66th Street                           Mark Engel                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.36
                                               New York, NY 10065
                                                                                                                            G




    2.37     Michael P.                        265 East 66th Street                           Matthew Engel                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.37
                                               New York, NY 10065
                                                                                                                            G




    2.38     Michael P.                        265 East 66th Street                           Mautner-Glick Corp            D
             D'Alessio                         Apt 28F                                        Profit Shar                   E/F       3.38
                                               New York, NY 10065
                                                                                                                            G




    2.39     Michael P.                        265 East 66th Street                           Michael P. D'Alessio          D
             D'Alessio                         Apt 28F                                                                      E/F       3.40
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 6 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 29 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.40     Michael P.                        265 East 66th Street                           Michael Kesselman             D
             D'Alessio                         Apt 28F                                                                      E/F       3.39
                                               New York, NY 10065
                                                                                                                            G




    2.41     Michael P.                        265 East 66th Street                           Michael Rothschild            D
             D'Alessio                         Apt 28F                                                                      E/F       3.41
                                               New York, NY 10065
                                                                                                                            G




    2.42     Michael P.                        265 East 66th Street                           Nathan & Pearl                D
             D'Alessio                         Apt 28F                                        Halegua                       E/F       3.42
                                               New York, NY 10065
                                                                                                                            G




    2.43     Michael P.                        265 East 66th Street                           Pensco Trust                  D
             D'Alessio                         Apt 28F                                        Company                       E/F       3.43
                                               New York, NY 10065
                                                                                                                            G




    2.44     Michael P.                        265 East 66th Street                           Philip Fiederlein             D
             D'Alessio                         Apt 28F                                                                      E/F       3.44
                                               New York, NY 10065
                                                                                                                            G




    2.45     Michael P.                        265 East 66th Street                           Ram Gupta                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.45
                                               New York, NY 10065
                                                                                                                            G




    2.46     Michael P.                        265 East 66th Street                           Robert Rosenthal              D
             D'Alessio                         Apt 28F                                                                      E/F       3.46
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 7 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 30 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.47     Michael P.                        265 East 66th Street                           Roger Schneier                D
             D'Alessio                         Apt 28F                                                                      E/F       3.47
                                               New York, NY 10065
                                                                                                                            G




    2.48     Michael P.                        265 East 66th Street                           Ronald Garfunkel              D
             D'Alessio                         Apt 28F                                                                      E/F       3.48
                                               New York, NY 10065
                                                                                                                            G




    2.49     Michael P.                        265 East 66th Street                           Ross Epstein                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.49
                                               New York, NY 10065
                                                                                                                            G




    2.50     Michael P.                        265 East 66th Street                           S.T.V. Realty LLC             D
             D'Alessio                         Apt 28F                                                                      E/F       3.50
                                               New York, NY 10065
                                                                                                                            G




    2.51     Michael P.                        265 East 66th Street                           Saulyco LLC                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.51
                                               New York, NY 10065
                                                                                                                            G




    2.52     Michael P.                        265 East 66th Street                           Scott & Ella Chick            D
             D'Alessio                         Apt 28F                                                                      E/F       3.52
                                               New York, NY 10065
                                                                                                                            G




    2.53     Michael P.                        265 East 66th Street                           Scott Silberman               D
             D'Alessio                         Apt 28F                                                                      E/F       3.53
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 8 of 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18    Entered 06/07/18 17:25:55               Main Document
                                                                         Pg 31 of 56
 Debtor       184 East 64th Street Holding LLC                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.54     Michael P.                        265 East 66th Street                           Sierra Real Estate            D
             D'Alessio                         Apt 28F                                        LLC                           E/F       3.54
                                               New York, NY 10065
                                                                                                                            G




    2.55     Michael P.                        265 East 66th Street                           Steven Engel                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.55
                                               New York, NY 10065
                                                                                                                            G




    2.56     Michael P.                        265 East 66th Street                           Tina Jebaily - Post           D
             D'Alessio                         Apt 28F                                                                      E/F       3.56
                                               New York, NY 10065
                                                                                                                            G




    2.57     Michael P.                        265 East 66th Street                           Vivian Cardia                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.57
                                               New York, NY 10065
                                                                                                                            G




    2.58     Michael P.                        265 East 66th Street                           William Jebaily               D
             D'Alessio                         Apt 28F                                                                      E/F       3.58
                                               New York, NY 10065
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 9 of 9
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 32 of 56


 Fill in this information to identify the case:

 Debtor name         184 East 64th Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2018 to Filing Date
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       For prior year:
       From 1/01/2017 to 12/31/2017                                                            Guaranty Payment                                          Unknown


       For year before that:
       From 1/01/2016 to 12/31/2016                                                            Guaranty Payment                                     $1,742,917.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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            18-22886-rdd                 Doc 1          Filed 06/07/18             Entered 06/07/18 17:25:55                          Main Document
                                                                                  Pg 33 of 56
 Debtor       184 East 64th Street Holding LLC                                                          Case number (if known)



    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    East 64th Street Realty                                                      Supreme Court NY, County                      Pending
               Partners LLC                                                                 of Westchester                                On appeal
               vs.
                                                                                                                                          Concluded
               184 East 64th Street Holding
               LLC, Bluestone 184 LLC,
               Michael Paul D'Alessio,
               Michael Paul Enterprises LLC
               & 184 East 64th Associates
               LLC
               53547/2018

       7.2.    The Mautner-Glick Profit                                                     Supreme Court NY, County                      Pending
               Corp. Sharins Plans,                                                         NY                                            On appeal
               Individually and Deivatively
                                                                                                                                          Concluded
               on Behalf of 184 East 64th
               Street Holding LLC and 227
               East 67th Holding LLC
               vs.
               Michael Paul D'Alessio,
               Michael Paul Enterprises LLC,
               184 East 64th Street Holding
               LLC, 184 East 64th Street
               Associates LLC, Bluestone
               184 LLC, 227 East 67th Street
               Holding LLC & 227 East 67th
               Street Associates LLC
               651184/2018

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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            18-22886-rdd                 Doc 1          Filed 06/07/18             Entered 06/07/18 17:25:55                         Main Document
                                                                                  Pg 34 of 56
 Debtor        184 East 64th Street Holding LLC                                                             Case number (if known)



    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                    Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Rosen & Associates P.C.
                 747 Third Avenue
                 New York, NY 10017                                                                                            5/14/18               $5,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Michael Paul Enterprises LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers       Total amount or
                                                                                                                         were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 35 of 56
 Debtor        184 East 64th Street Holding LLC                                                         Case number (if known)




           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     12 Water Street                                                                                           4/2015 - 4/2018
                 Suite 204
                 White Plains, NY 10601

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 36 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                         Main Document
                                                                               Pg 37 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)




25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    184 East 64th Street                             Real Estate                                      EIN:         XX-XXXXXXX
             Associates LLC c/o Aspen
             Mgmt                                                                                              From-To
             3140 East Tremont Ave, 2nd
             Fl
             Bronx, NY 10461


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Anthony Capeci CPA                                                                                                         2015 - Current
                    1160 East Jericho Tpke
                    Suite 217
                    Huntington, NY 11743

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 38 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Michael P. D'Alessio                           12 Water Street                                     Manager                             1.5
                                                      Suite 204
                                                      White Plains, NY 10601


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 1516 Realty Group LLC
       .    97-77 Queens Blvd, TWR 3                                                                                                      Guaranteed
               Rego Park, NY 11374                               7460.37                                                 5/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.2 Adam Cohen
       .    48 Everett Road                                                                                                               Guaranteed
               Demarest, NJ 07627                                14920.77                                                5-1-17-10-1-17   Payments

               Relationship to debtor
               Member


       30.3 Adam Fields
       .    9769 Apricot Lane                                                                                            5-1-17 -         Guaranteed
               Beverly Hills, CA 90210                           7,460.37                                                10-1-17          Payments

               Relationship to debtor
               Member


       30.4 Alyse Lefton
       .    181 East 73rd Street                                                                                         5/1/17 -         Guaranteed
               New York, NY 10021                                7,460.37                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Anita Gupta
       .    2123 Williamsbridge Road                                                                                     5/1/17 -         Guaranteed
               Bronx, NY 10461                                   7,460.37                                                10/1/17          Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 39 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.6 Anthony Bonomo Sr.
       .    10 Walter Lane                                                                                               5/1/17 -       Guaranteed
               Manhasset, NY 11030                               22,381.14                                               10/1/17        Payments

               Relationship to debtor
               Member


       30.7 Anthony Bonomo Jr.
       .    10 Walter Lane                                                                                               5/1/17 -       Guaranteed
               Manhasset, NY 11030                               7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.8 Arlene Blatt
       .    25 Sutton Place South
               Apt 3N                                                                                                    5/1/17 -       Guaranteed
               New York, NY 10022                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.9 Arnold Waldman
       .    581 Leheigh Lane                                                                                             5/1/17 -       Guaranteed
               Woodmere, NY 11598                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Barbara Fiederlein Trust,
       0.   David Fiederlein, Trustee
               56 Majestic Ridge                                                                                         5/1/17 -       Guaranteed
               Carmel, NY 10512                                  7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Beverly Hazelkorn
       1.   92 Radcliff Ave                                                                                                             Guaranteed
               Port Washington, NY 11050                         5/1/17 - 10/1/17                                        7,460.37       Payments

               Relationship to debtor
               Member


       30.1 Bluestone 184 LLC
       2.   c/o Aspen Management
               Group
               3140 E. Tremont Ave, 2nd FL                                                                               5/1/17 -       Guaranteed
               Bronx, NY 10461                                   231,673.00                                              10/1/17        Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 8
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 40 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.1 BMG Consulting Group LLC
       3.   Attn: Bianca D'Alessio
               340 East 51st St #3A                                                                                      5/1/17 -       Guaranteed
               New York, NY 10022                                22,381.14                                               10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Bruce Azus
       4.   9 Bensin Drive                                                                                               5/1/17 -       Guaranteed
               Melville, NY 11747                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Carol Merkel
       5.   323 Polaris Street                                                                                           5/1/17 to      Guaranteed
               Dauphin Island, AL 36528                          7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Chantal Pick
       6.   866 Evergreen Drive                                                                                          5/1/17 -       Guaranteed
               West Hempstead, NY 11552                          7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Daniel Rifkin
       7.   P.O. Box 9338                                                                                                5/1/17 -       Guaranteed
               Bardonia, NY 10954                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 David & Rita Levy
       8.   25 Wren Drive                                                                                                5/1/17 -       Guaranteed
               Roslyn, NY 11576                                  7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 David Tesser
       9.   1800 Merrick Road                                                                                            5/1/17 -       Guaranteed
               Merrick, NY 11566                                 7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Diamond Enterprises LLC
       0.   3677 East Tremont Ave                                                                                        5/1/17 -       Guaranteed
               Bronx, NY 10465                                   14,920.77                                               10/1/17        Payments

               Relationship to debtor
               Member


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 9
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 41 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.2 East 64th Street Realty Partne
       1.   rs Attn: Cornell Pace Inc
               542 Main St, 2nd Floor                                                                                    5/1/17 -       Guaranteed
               New Rochelle, NY 10801                            149,207.67                                              10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Fiederlein Family 2012 Gift Tr
       2.   ust, B. Fiederlein Trustee
               56 Majestic Ridge                                                                                         5/1/17 -       Guaranteed
               Carmel, NY 10512                                  7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Fiederlein Family LLC
       3.   Attn: David Fiederlein
               56 Majestic                                                                                               5/1/17 -       Guaranteed
               Carmel, NY 10512                                  7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Frima Edelstein
       4.   2 Larch Lane                                                                                                 5/1/17 -       Guaranteed
               Marlboro, NJ 07746                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Gamor Company LLC
       5.   Attn: Jamie Heiberger
               589 Eight Ave, 10th FL                                                                                    5/1/17 -       Guaranteed
               New York, NY 10018                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Gerald Levy
       6.   c/o Neil Levy
               36 Woodmont Rd                                                                                            5/1/17 -       Guaranteed
               Melville, NY 11747                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Gregory Calabro
       7.   22 Essex Road                                                                                                5/1/17 -       Guaranteed
               Maplewood, NJ 07040                               7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 42 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.2 Jaclyn Bonomo
       8.   10 Walter Lane                                                                                               5/1/17 -       Guaranteed
               Manhasset, NY 11030                               7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Jason Griffith
       9.   66 Hillside Crescent                                                                                         5/1/17 -       Guaranteed
               New Rochelle, NY 10804                            7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 John Cannon
       0.   15 Farmington Lane                                                                                           5/1/17 -       Guaranteed
               Melville, NY 11747                                7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 John Ernenwein
       1.   51 Osborne Road                                                                                              5/1/17 -       Guaranteed
               Garden City, NY 11530                             7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Joseph Dinoia
       2.   15833 Double Eagle Trail                                                                                     5/1/17 -       Guaranteed
               Delray Beach, FL 33446                            7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Julianne Bonomo
       3.   10 Walter Lane                                                                                               5/1/17 -       Guaranteed
               Manhasset, NY 11030                               7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Lawrence Dolin
       4.   11 Sands Court                                                                                               5/1/17 -       Guaranteed
               Port Washington, NY 11050                         7,460.37                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Lisa West
       5.   33 Gateway Drive                                                                                             5/1/17 -       Guaranteed
               Great Neck, NY 11021                              22,381.14                                               10/1/17        Payments

               Relationship to debtor
               Member



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 43 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.3 Marilyn Yukelson
       6.   12 Angler Lane                                                                                               5/1/17 -          Guaranteed
               Port Washington, NY 11050                         7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.3 Mark Engel
       7.   1 Forest Drive                                                                                               5/1/17 -          Guaranteed
               Port Washington, NY 11050                         22,381.14                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.3 Matthew Engel
       8.   19 Soundview                                                                                                 5/1/17 -          Guaranteed
               Port Washington, NY 11050                         7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.3 Mautner-Glick Corp Profit
       9.   Shar
               ing Plan c/o David Parks
               1345 Third Ave                                                                                                              Guaranteed
               New York, NY 10021                                22,381.14                                               5/1/17 -10/1/17   Payments

               Relationship to debtor
               Member


       30.4 Michael Kesselman
       0.   317 Chestnut Street                                                                                          5/1/17 -          Guaranteed
               West Hempstead, NY 11552                          7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Michael P. D'Alessio
       1.   265 East 66th Street
               Apt 28F                                                                                                   5/1/17 -          Guaranteed
               New York, NY 10065                                27,884.70                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Michael Rothschild
       2.   c/o AJ Clarke Real Estate
               1881 Broadway                                                                                             5/1/17 -          Guaranteed
               New York, NY 10023                                7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 12
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 44 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.4 Nathan & Pearl Halegua
       3.   c/o Jonis Realty
               6 Grace Ave, 4th Fl                                                                                                         Guaranteed
               Great Neck, NY 11021                              7,460.37                                                5/1/17 -10/1/17   Payments

               Relationship to debtor
               Member


       30.4 Pensco Trust Company
       4.   FBO Howard Rosen
               P.O. Box 173859                                                                                           5/1/17 -          Guaranteed
               Denver, CO 80217                                  7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Philip Fiederlein
       5.   4 North Lane                                                                                                 5/1/17 -          Guaranteed
               Mahopac, NY 10541                                 7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Ram Gupta
       6.   2123 Williamsbridge Road                                                                                     5/1/17 -          Guaranteed
               Bronx, NY 10461                                   14,920.77                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Robert Rosenthal
       7.   1 Jericho Plaza
               Suite 201                                                                                                 5/1/17 -          Guaranteed
               Jericho, NY 11753                                 14,920.77                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Roger Schneier
       8.   8167 Valhalla Drive                                                                                                            Guaranteed
               Delray Beach, FL 33446                            7,460.37                                                5/1/17-10/1/17    Payments

               Relationship to debtor
               Member


       30.4 Ronald Garfunkel
       9.   127 Church Hill Road                                                                                                           Guaranteed
               Washington Depot, CT 06794                        14,920.77                                               5/1/17-10/1/17    Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
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           18-22886-rdd                  Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 45 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.5 Ross Epstein
       0.   925 Monroe Lane                                                                                              5/1/17 -         Guaranteed
               Hewlett Neck, NY 11598                            7,460.37                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 S.T.V. Realty LLC
       1.   Attn: Jeff Farkas
               P.O. Box 750443                                                                                                            Guaranteed
               Forest Hills, NY 11375                            14,920.77                                               5/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Saulyco LLC
       2.   Attn: Issac Stern
               220 Surrey Road                                                                                                            Guaranteed
               Hillside, NJ 07205                                7,460.37                                                5/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Scott & Ella Chick
       3.   206 Adams Street
               Unit B                                                                                                                     Guaranteed
               Hoboken, NJ 07030                                 7,460.37                                                5/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Scott Silberman
       4.   25 Ely Road                                                                                                  5/1/17 -         Guaranteed
               Holmdel, NJ 07733                                 7,460.37                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Sierra Real Estate LLC
       5.   Attn: James Wacht
               600 Madison Ave                                                                                           5/1/17 -         Guaranteed
               New York, NY 10022                                37,301.91                                               10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Steven Engel
       6.   3817 Woodley Road NW                                                                                         5/1/17 -         Guaranteed
               Washington, DC 20016                              7,460.37                                                10/1/17          Payments

               Relationship to debtor
               Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 14
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            18-22886-rdd                 Doc 1          Filed 06/07/18          Entered 06/07/18 17:25:55                        Main Document
                                                                               Pg 46 of 56
 Debtor      184 East 64th Street Holding LLC                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.5 Tina Jebaily - Post
       7.   152 Beach 139 Street                                                                                         5/1/17 -          Guaranteed
               Belle Harbor, NY 11694                            7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.5 Vivian Cardia
       8.   10402 Stonebridge Blvd                                                                                       5/1/17 -          Guaranteed
               Boca Raton, FL 33498                              7,460.37                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.5 William Jebaily
       9.   81 Iron Mine Drive                                                                                           5/1/17 -          Guaranteed
               Staten Island, NY 10304                           14,920.77                                               10/1/17           Payments

               Relationship to debtor
               Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 7, 2018

 /s/ Michael P. D'Alessio                                               Michael P. D'Alessio
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 15
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            18-22886-rdd                 Doc 1          Filed 06/07/18         Entered 06/07/18 17:25:55                 Main Document
                                                                              Pg 47 of 56
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       184 East 64th Street Holding LLC                                                                 Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Michael Paul Enterprises LLC

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           N/A

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               N/A
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 7, 2018                                                                  /s/ Sanford P. Rosen
     Date                                                                          Sanford P. Rosen (SR-4966)
                                                                                   Signature of Attorney
                                                                                   Rosen & Associates, P.C.
                                                                                   747 Third Avenue
                                                                                   Floor 20
                                                                                   New York, NY 10017-2803
                                                                                   (212) 223-1100 Fax: (212) 223-1102
                                                                                   srosen@rosenpc.com
                                                                                   Name of law firm




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           18-22886-rdd                  Doc 1          Filed 06/07/18        Entered 06/07/18 17:25:55           Main Document
                                                                             Pg 48 of 56




                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      184 East 64th Street Holding LLC                                                           Case No.
                                                                                   Debtor(s)           Chapter      7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 7, 2018                                               /s/ Michael P. D'Alessio
                                                                        Michael P. D'Alessio/Manager
                                                                        Signer/Title




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    18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                            Pg 49 of 56

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                           1516 REALTY GROUP LLC
                           97-77 QUEENS BLVD, TWR 3
                           REGO PARK, NY 11374


                           ADAM COHEN
                           48 EVERETT ROAD
                           DEMAREST, NJ 07627


                           ADAM FIELDS
                           9769 APRICOT LANE
                           BEVERLY HILLS, CA 90210


                           ALYSE LEFTON
                           181 EAST 73RD STREET
                           NEW YORK, NY 10021


                           ANITA GUPTA
                           2123 WILLIAMSBRIDGE ROAD
                           BRONX, NY 10461


                           ANTHONY BONOMO JR.
                           10 WALTER LANE
                           MANHASSET, NY 11030


                           ANTHONY BONOMO SR.
                           10 WALTER LANE
                           MANHASSET, NY 11030


                           ARLENE BLATT
                           25 SUTTON PLACE SOUTH
                           APT 3N
                           NEW YORK, NY 10022


                           ARNOLD WALDMAN
                           581 LEHEIGH LANE
                           WOODMERE, NY 11598


                           BARBARA FIEDERLEIN TRUST,
                           DAVID FIEDERLEIN, TRUSTEE
                           56 MAJESTIC RIDGE
                           CARMEL, NY 10512


                           BEVERLY HAZELKORN
                           92 RADCLIFF AVE
                           PORT WASHINGTON, NY 11050
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 50 of 56


                       BMG CONSULTING GROUP LLC
                       ATTN: BIANCA D'ALESSIO
                       340 EAST 51ST ST #3A
                       NEW YORK, NY 10022


                       BRUCE AZUS
                       9 BENSIN DRIVE
                       MELVILLE, NY 11747


                       CAROL MERKEL
                       323 POLARIS STREET
                       DAUPHIN ISLAND, AL 36528


                       CHANTAL PICK
                       866 EVERGREEN DRIVE
                       WEST HEMPSTEAD, NY 11552


                       DANIEL RIFKIN
                       P.O. BOX 9338
                       BARDONIA, NY 10954


                       DAVID & RITA LEVY
                       25 WREN DRIVE
                       ROSLYN, NY 11576


                       DAVID TESSER
                       1800 MERRICK ROAD
                       MERRICK, NY 11566


                       DIAMOND ENTERPRISES LLC
                       3677 EAST TREMONT AVE
                       BRONX, NY 10465


                       EAST 64TH STREET REALTY PARTNE
                       RS ATTN: CORNELL PACE INC
                       542 MAIN ST, 2ND FLOOR
                       NEW ROCHELLE, NY 10801


                       FIEDERLEIN FAMILY 2012 GIFT TR
                       UST, B. FIEDERLEIN TRUSTEE
                       56 MAJESTIC RIDGE
                       CARMEL, NY 10512
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 51 of 56


                       FIEDERLEIN FAMILY LLC
                       ATTN: DAVID FIEDERLEIN
                       56 MAJESTIC
                       CARMEL, NY 10512


                       FRIMA EDELSTEIN
                       2 LARCH LANE
                       MARLBORO, NJ 07746


                       GAMOR COMPANY LLC
                       ATTN: JAMIE HEIBERGER
                       589 EIGHT AVE, 10TH FL
                       NEW YORK, NY 10018


                       GERALD LEVY
                       C/O NEIL LEVY
                       36 WOODMONT RD
                       MELVILLE, NY 11747


                       GREGORY CALABRO
                       22 ESSEX ROAD
                       MAPLEWOOD, NJ 07040


                       HOWARD ROSEN
                       4 HORIZON ROAD # 1006
                       FORT LEE, NJ 07024


                       JACLYN BONOMO
                       10 WALTER LANE
                       MANHASSET, NY 11030


                       JASON GRIFFITH
                       66 HILLSIDE CRESCENT
                       NEW ROCHELLE, NY 10804


                       JOHN CANNON
                       15 FARMINGTON LANE
                       MELVILLE, NY 11747


                       JOHN ERNENWEIN
                       51 OSBORNE ROAD
                       GARDEN CITY, NY 11530
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 52 of 56


                       JOSEPH DINOIA
                       15833 DOUBLE EAGLE TRAIL
                       DELRAY BEACH, FL 33446


                       JULIANNE BONOMO
                       10 WALTER LANE
                       MANHASSET, NY 11030


                       KLEIN WEALTH MGMT HIGHTOWER
                       445 BROAD HOLLOW RD
                       SUITE 332
                       MELVILLE, NY 11747


                       LAWRENCE DOLIN
                       11 SANDS COURT
                       PORT WASHINGTON, NY 11050


                       LISA WEST
                       33 GATEWAY DRIVE
                       GREAT NECK, NY 11021


                       MARILYN YUKELSON
                       12 ANGLER LANE
                       PORT WASHINGTON, NY 11050


                       MARK ENGEL
                       1 FOREST DRIVE
                       PORT WASHINGTON, NY 11050


                       MATTHEW ENGEL
                       19 SOUNDVIEW
                       PORT WASHINGTON, NY 11050


                       MAUTNER-GLICK CORP PROFIT SHAR
                       ING PLAN C/O DAVID PARKS
                       1345 THIRD AVE
                       NEW YORK, NY 10021


                       MICHAEL KESSELMAN
                       317 CHESTNUT STREET
                       WEST HEMPSTEAD, NY 11552
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 53 of 56


                       MICHAEL P. D'ALESSIO
                       12 WATER STREET
                       SUITE 204
                       WHITE PLAINS, NY 10601


                       MICHAEL P. D'ALESSIO
                       265 EAST 66TH STREET
                       APT 28F
                       NEW YORK, NY 10065


                       MICHAEL ROTHSCHILD
                       C/O AJ CLARKE REAL ESTATE
                       1881 BROADWAY
                       NEW YORK, NY 10023


                       NATHAN & PEARL HALEGUA
                       C/O JONIS REALTY
                       6 GRACE AVE, 4TH FL
                       GREAT NECK, NY 11021


                       PENSCO TRUST COMPANY
                       FBO HOWARD ROSEN
                       P.O. BOX 173859
                       DENVER, CO 80217


                       PHILIP FIEDERLEIN
                       4 NORTH LANE
                       MAHOPAC, NY 10541


                       RAM GUPTA
                       2123 WILLIAMSBRIDGE ROAD
                       BRONX, NY 10461


                       ROBERT ROSENTHAL
                       1 JERICHO PLAZA
                       SUITE 201
                       JERICHO, NY 11753


                       ROGER SCHNEIER
                       8167 VALHALLA DRIVE
                       DELRAY BEACH, FL 33446


                       RONALD GARFUNKEL
                       127 CHURCH HILL ROAD
                       WASHINGTON DEPOT, CT 06794
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 54 of 56


                       ROSENFELD & KAPLAN LLP
                       1180 AVE OF THE AMERICAS
                       SUITE 1920
                       NEW YORK, NY 10036


                       ROSS EPSTEIN
                       925 MONROE LANE
                       HEWLETT NECK, NY 11598


                       S.T.V. REALTY LLC
                       ATTN: JEFF FARKAS
                       P.O. BOX 750443
                       FOREST HILLS, NY 11375


                       SAULYCO LLC
                       ATTN: ISSAC STERN
                       220 SURREY ROAD
                       HILLSIDE, NJ 07205


                       SCHWARTZ SLADKUS REICH GREENBE
                       RG & ATLAS LLP
                       270 MADISON AVE, 9TH FL
                       NEW YORK, NY 10016


                       SCOTT & ELLA CHICK
                       206 ADAMS STREET
                       UNIT B
                       HOBOKEN, NJ 07030


                       SCOTT SILBERMAN
                       25 ELY ROAD
                       HOLMDEL, NJ 07733


                       SIERRA REAL ESTATE LLC
                       ATTN: JAMES WACHT
                       600 MADISON AVE
                       NEW YORK, NY 10022


                       STEVEN ENGEL
                       3817 WOODLEY ROAD NW
                       WASHINGTON, DC 20016


                       TINA JEBAILY - POST
                       152 BEACH 139 STREET
                       BELLE HARBOR, NY 11694
18-22886-rdd   Doc 1   Filed 06/07/18    Entered 06/07/18 17:25:55   Main Document
                                        Pg 55 of 56


                       VIVIAN CARDIA
                       10402 STONEBRIDGE BLVD
                       BOCA RATON, FL 33498


                       WILLIAM JEBAILY
                       81 IRON MINE DRIVE
                       STATEN ISLAND, NY 10304
           18-22886-rdd                  Doc 1          Filed 06/07/18        Entered 06/07/18 17:25:55              Main Document
                                                                             Pg 56 of 56



                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      184 East 64th Street Holding LLC                                                              Case No.
                                                                                  Debtor(s)               Chapter      7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 184 East 64th Street Holding LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 7, 2018                                                         /s/ Sanford P. Rosen
 Date                                                                 Sanford P. Rosen (SR-4966)
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 184 East 64th Street Holding LLC
                                                                      Rosen & Associates, P.C.
                                                                      747 Third Avenue
                                                                      Floor 20
                                                                      New York, NY 10017-2803
                                                                      (212) 223-1100 Fax:(212) 223-1102
                                                                      srosen@rosenpc.com




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